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June 16, 2025

VIA ECF
The Honorable Lewis J. Liman
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., Room 1620
New York, NY 10007

Re:    Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL [rel. No. 1:25-cv-00449]

Dear Judge Liman:

        On behalf of Blake Lively, we write pursuant to Rule 4.b of Attachment A to Your Honor’s
Individual Rules to respectfully request that the Court preliminarily seal Exhibits 1 through 6 to
Plaintiff Blake Lively and Defendant Ryan Reynolds (the “Lively-Reynolds Parties”) Letter
pursuant to the Court’s June 16, 2025 Order, filed contemporaneously herewith. Exhibits 1 through
6 are supplemental interrogatory responses produced by the Wayfarer Parties, which the Wayfarer
Parties designated as confidential. In accordance with Rule 4.b of Attachment A, Ms. Lively
respectfully requests that the Court not rule on this letter-motion to seal for one week, so that the
parties have the opportunity to meet and confer, and the Wayfarer Parties may file a motion for
continued sealing if they so choose.

                                                    Respectfully submitted,

                                                    /s/ Esra A. Hudson

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